    Case: 1:23-cv-00974 Document #: 23 Filed: 08/04/23 Page 1 of 2 PageID #:44




                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

HOWARD COHAN                                )
                                            )
      Plaintiff,                            )
                                            )
             vs                             )     Case No.: 23 CV 0974
                                            )
1515 CHICAGO AVENUE, LLC, d/b/a             )
HYATT HOUSE CHICAGO/EVANSTON,               )
AND JANKO GROUP, LLC, d/b/a HYATT           )
HOUSE CHICAGO/EVANSTON                      )
                                            )
      Defendant.                            )

         JOINT STIPULATION OF DISMISSAL WITH PREJUDICE
      Plaintiff, Howard Cohan (“Plaintiff”) and Defendant, 1515 Chicago
Avenue, LLC, d/b/a Hyatt House Chicago/Evanston (“Defendant”) (“Plaintiff
and Defendant are collectively referred to as the Parties”), having entered into
a Confidential Settlement Agreement and Release (“Agreement”) that resolves
all claims that were or could have been brought in this action, hereby stipulate
to the dismissal of this action with prejudice.      Attorney’s fees and other
recoverable costs and expenses, if any, shall be disbursed as specified by the
Parties in their Agreement. The effectiveness of this Stipulation is conditioned
upon the Court’s dismissing this action with prejudice (the “Order”).            The
parties hereby stipulate and agree to the entry of the attached proposed Order
and respectfully request that the Court enter the same.



Jointly submitted this 4th day of August, 2023.


Respectfully submitted,




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    Case: 1:23-cv-00974 Document #: 23 Filed: 08/04/23 Page 2 of 2 PageID #:45




By:    /s/ Robert M. Kaplan                 By: /s/ Janet Davis
Counsel for Plaintiff                       Counsel for Defendant
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                       CERTIFICATE OF SERVICE

     I hereby certify that on August 4, 2023, I electronically filed the

foregoing Joint Status Report with the Clerk of Court using the CM/ECF

system which will send notification of this filing to the attorneys of record.




                                     By: /s/ Robert M. Kaplan




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